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    From: Jason Giles <jgiles@kinginjuryfirm.com>
       To:                   <       @kinginjuryfirm.com>
      Cc:                    <        @kinginjuryfirm.com>,                 <      @kinginjuryfirm.com>
  Subject: Re: Attention Please
     Date: Sat, 12 Jan 2019 00:09:26 +0000


She used to work for justice department.

Jason F Giles
King Injury Firm
Ring The King
504-909-5464


On Jan 11, 2019, at 5:38 PM,                    <       @kinginjuryfirm.com> wrote:


I just talked to        for a bit. Apparently, this lawyer has had prior run ins with Cornelius Garrison, got
         s number after the hearing, then a US Attorney called           when she was back at her office about
Garrison and this case. She said she has had zero contact with them before today and the intervention from this
lawyer.

No other details given about the specifics of the discussion.


Attorney
The King Firm
2912 Canal Street
New Orleans, LA 70119
Main: 504-909-5464
Fax: 800-901-6470
      @kinginjuryfirm.com


On Fri, Jan 11, 2019 at 10:50 AM                     <          @kinginjuryfirm.com> wrote:
 If you have any cases with this attorney or this firm, please let me know immediately



  --
  Anthony J. Milazzo, III, Partner
  The King Firm, LLC
  2912 Canal Street
  New Orleans, Louisiana 70119
  Phone 504-909-5464
  Fax 800-901-6470
                                                                                              GOVERNMENT
                                                                                                EXHIBIT

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